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 9                                 UNITED STATES DISTRICT COURT
10          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11   SOFIE KARASEK, individually;               )   Case No: 3:15-cv-03717-WHO
     NICOLLETTA COMMINS, individually;          )
12   ARYLE BUTLER, individually;                )   FIFTH AMENDED COMPLAINT FOR
                                                )   DAMAGES:
13                   Plaintiffs,                )
                                                )      1. DISCRIMINATION ON THE
14           vs.                                )         BASIS OF GENDER IN
                                                )         VIOLATION OF 20 U.S.C. §1681
15   THE REGENTS OF THE UNIVERSITY              )         (TITLE IX)
     OF CALIFORNIA, a public entity, and        )
16   DOES 1 through 100, inclusive,             )
                                                )
17                    Defendants.               )
                                                )
18                                              )
                                                )
19                                              )   [DEMAND FOR JURY TRIAL]
                                                )
20                                              )   Dept: Courtroom 4, 3rd Floor
                                                )   Judge: Hon. William H. Orrick
21                                              )
                                                )
22                                              )
23

24

25

26

27

28

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     Based upon information and belief available to Plaintiffs, Sofie Karasek, Individually, Nicoletta
 1

 2   Commins, Individually, Aryle Butler, Individually at the time of the filing of the Complaint for

 3   Damages, Plaintiffs make the following allegations:

 4                                             A. PARTIES
 5      1.     Defendant The Regents of the University of California (“Regents”) owns and operates
 6
               the University of California, Berkeley (“University”).
 7
        2.     Plaintiff Sofie Karasek (“Karasek”) was, at all times relevant, a student at the
 8
               University.
 9

10      3.     Plaintiff Aryle Butler (“Butler”) was, at all times relevant, a student at the University.

11      4.     Plaintiff Nicoletta Commins (“Commins”) was, at all times relevant, a student at the

12             University.
13
                    B. BACKGROUND FACTS RELEVANT TO ALL COUNTS
14
                 1. The Department of Education’s Office for Civil Rights Significant
15
                                          Guidance Documents
16
        5.     In 2001, The Department of Education (“DOE”), published the Revised Sexual
17

18             Harassment Guidance: Harassment of Students by School Employees, Other Students,

19             or Third Parties (“2001 Guidance”).
20      6.     The 2001 Guidance, “…focuses on a school’s fundamental compliance responsibilities
21
               under Title IX…”
22
        7.     The 2001 Guidance acknowledges that, “Schools are required by the Title IX
23
               regulations to adopt and publish grievance procedures providing for prompt and
24

25             equitable resolution of sex discrimination complaints, including complaints of sexual

26             harassment, and to disseminate a policy against sex discrimination.”

27      8.     It goes on to state, “These procedures provide a school with a mechanism for
28             discovering sexual harassment as early as possible and for effectively correcting

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             problems, as required by the Title IX regulations. By having a strong policy against sex
 1

 2           discrimination and accessible, effective, and fairly applied grievance procedures, a

 3           school is telling its students that it does not tolerate sexual harassment and that students

 4           can report it without fear of adverse consequences.”
 5     9.    The 2001 Guidance recognizes that, “training for administrators, teachers, and staff and
 6
             age-appropriate classroom information for students can help to ensure that they
 7
             understand what types of conduct can cause sexual harassment and that they know how
 8
             to respond.”
 9

10     10.   The 2001 Guidance requires that a school’s sexual misconduct policies be widely

11           disseminated. To that end, “Distributing the procedures to administrators, or including

12           them in the school’s administrative or policy manual may not by itself be an effective
13
             way of providing notice…”
14
       11.   On April 4, 2011, the DOE issued a supplement to the 2001 Guidance known as a Dear
15
             Colleague Letter (“DCL”). The DCL addressed how an educational institution should
16
             respond to sexual misconduct on campus. The DCL required:
17

18           •   All persons involved in a complaint resolution process must be trained in handling

19               complaints of sexual harassment or sexual violence;
20
             •   A school’s grievance procedures must be prominently displayed on the school
21
                 website, and widely distributed throughout campus in both print and electronic
22
                 formats;
23

24           •   A school must take immediate action to address a complaint of sexual

25               harassment/assault, prevent its reoccurrence and address its effects;

26           •   A school should notify the complainant of his or her options to avoid contact with
27               the alleged perpetrator;
28
             •   When taking steps to separate a complainant and alleged perpetrator, a school
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                should minimize the burden on the complainant;
 1

 2          •   A school must inform a complainant of their right to file a criminal report and not

 3              discourage the complainant from doing so;

 4          •   A school must conduct their own investigation, and take immediate steps to protect
 5
                the complainant and the school community at large;
 6
            •   Although a school may need to delay the fact-finding portion of an investigation
 7
                while the police are gathering evidence, the school must promptly resume and
 8

 9              complete its fact-finding once the police department has completed its gathering

10              of evidence, not after the ultimate outcome or the filing of any charges (usually

11              three to ten calendar days);
12
            •   Grievance procedures may include voluntary informal mechanisms. However, the
13
                complainant must be notified of the right to end the informal process at any time
14
                and begin the formal stage of the complaint process. In cases involving allegations
15
                of sexual assault, mediation is not appropriate;
16

17          •   A school must treat both parties equally throughout the investigative process;

18          •   A school must give the parties to a complaint periodic status updates;
19
            •   Throughout the school’s investigation the parties must have an equal opportunity
20
                to present relevant witnesses and other evidence;
21
            •   A resolution should be achieved no longer than 60 days after the complainant
22

23              makes a report of sexual harassment/assault;

24          •   A school must notify the parties in writing about the outcome of the complaint;

25          •   A school should take proactive measures to prevent sexual harassment and
26
                violence, including implementing sexual misconduct prevention education and
27
                providing such education to its employees and students multiple times;
28
            •   “These programs should include a discussion of what constitutes sexual
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                 harassment and sexual violence, the school’s policies and disciplinary procedures,
 1

 2               and the consequences of violating these policies;”

 3           •   A school’s sexual misconduct policies should include instruction for students who

 4               are victims of sexual misconduct on where, and to whom, they should report. The
 5
                 policies should also instruct students and employees what to do if they learn of an
 6
                 incident of sexual misconduct;
 7
             •   “Schools also should assess student activities regularly to ensure that the practices
 8

 9               and behavior of students do not violate the schools’ policies against sexual

10               harassment and sexual violence.”

11                     2. Defendant University’s Multiple and Confusing Policies
12                                    Relating to Sexual Misconduct
13
       12.   In 2012 the University had in place multiple and contradictory policies for responding
14
             to allegations of student on student sexual assault, including the Berkeley Campus Code
15
             of Student Conduct (“Code of Student Conduct”), the Berkeley Campus
16

17           Procedures for Responding to Reports of Sexual Harassment (“Sexual Harassment

18           Policy”), and the Berkeley Campus Student Policy and Procedures Regarding Sexual

19           Assault and Rape (“Sexual Assault Policy”).
20
                               a. Interim Sexual Misconduct Policy
21
       13.   In September of 2013, the University implemented the Interim Sexual Misconduct
22
             Policy. According to Hallie Hunt (“Hunt”), the Director of the Center for Student
23
             Conduct (“CSC”) and Assistant Dean of Students, the CSC and the Office for the
24

25           Prevention of Harassment and Discrimination (“OPHD”) began employing the

26           practices detailed in the Interim Sexual Misconduct Policy soon after receiving new
27           federal guidance on the subject in 2011, referring to the Dear Colleague Letter. The
28
             Interim Sexual Misconduct Policy adopted the guidelines within the Dear Colleague

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             Letter (“DCL”).
 1

 2     14. The University’s Interim Sexual Misconduct Policy included and required the following:

 3           •   Complaints against students that allege sexual misconduct may be made directly

 4               to the UC Berkeley Police Department, the CSC, the OPHD or any other campus
 5
                 office authorized to receive such complaints;
 6
             •   Sexual misconduct complaints, after receipt by the CSC, shall be referred to OPHD
 7
                 for investigation;
 8

 9           •   OPHD will take responsibility for investigating complaints of sexual misconduct;

10           •   OPHD may temporarily delay the fact-finding portion of its investigation while

11               law enforcement officers collect evidence for a criminal investigation, but will
12
                 promptly resume its investigation at such time as there will be no interference with
13
                 law enforcement evidence collection;
14
             •   A sexual misconduct investigation shall be completed promptly.               If the
15

16               investigation is not completed within 60 days, OPHD shall inform the complainant

17               and the CSC of the status of the investigation and provide the complainant and the

18               CSC with an estimated date for the completion of the investigation;
19
             •   Prior to agreeing to an informal resolution of a sexual misconduct complaint, the
20
                 CSC shall consult with the complainant regarding any proposed informal
21
                 resolution;
22
             •   If the CSC decides to agree with the responding student to enter into an informal
23

24               resolution, then the CSC shall provide the complainant with the resulting signed

25               Administrative Disposition.       Upon receipt of the signed Administrative
26               Disposition, the complainant may appeal the CSC’s decision to enter into the
27
                 informal resolution;
28
             •   Notices or communications given to the responding student by the CSC or the
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                 Independent Hearing Officer concerning the following shall be provided to
 1

 2               complainant on the same day:

 3                    - Administrative Disposition;

 4                    - Notice of the outcome of a hearing;
 5                    - Final decision to impose sanctions issued by the Dean of Students; and
 6
                         any decision regarding an appeal.
 7
                           b. Code of Student Conduct, Rape and Sexual Assault
 8
       15.   The University’s Code of Student Conduct included and required the following:
 9

10           •   In cases involving a complaint of rape or sexual assault, the investigation of

11               specific allegations will be directed by the Title IX Compliance Officer and
12               conducted by the CSC. The Title IX Compliance Officer will decide whether
13
                 sexual assault cases should be pursued by the CSC;
14
             •   Within 7 days of the receipt of a complaint, the CSC will determine whether
15
                 sufficient information exists to proceed with a conduct process. If the CSC
16

17               determines that there is sufficient information to support the allegation(s), an

18               Alleged Violation Letter will be sent to the respondent;

19           •   Most often complaints are resolved informally (as opposed to the mandatory
20
                 formal process required by the DCL in cases of sexual assault) through discussions
21
                 with CSC staff. The CSC may conduct an investigation and/or gather further
22
                 information relevant to the complaint. If the investigation yields evidence of a
23
                 Code violation, the CSC will propose a resolution and the student may be given
24

25               the opportunity to resolve the case informally;

26           •   When, as a result of a violation of the Code of Student Conduct, a student is
27               suspended, the fact that suspension was imposed must be posted on the academic
28
                 transcript for the duration of the suspension. When a student is dismissed, the fact

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                 that dismissal was imposed must be posted on the academic transcript
 1

 2               permanently.

 3     16.   The Code of Student Conduct details the due process rights of the accused student, the

 4           notifications required, and timelines for the process. It contains no policies with respect
 5           to rights of the complainant, notifications to the complainant, or opportunities for the
 6
             complainant to meet with staff or discuss possible outcomes of the complaint.
 7
                                      c. Sexual Harassment Policy
 8
       17.   The University’s Sexual Harassment Policy included and required the following:
 9

10           •   Individuals making reports of sexual harassment shall be informed about options

11               for resolving potential violations of the Sexual Harassment Policy, including
12               procedures for early resolution and procedures for a formal investigation;
13
             •   Individuals bringing reports of sexual harassment shall be informed about the
14
                 range of possible outcomes of the report, including interim protections, remedies
15
                 for the individual harmed by the harassment, and disciplinary actions that might
16

17               be taken against the accused as a result of the report, including information about

18               the procedures leading to such outcomes;

19           •   The campus shall respond, to the greatest extent possible, to reports of sexual
20
                 harassment brought anonymously or brought by third parties not directly involved
21
                 in the harassment;
22
             •   The goal of early resolution is to resolve concerns at the earliest stage possible,
23

24               with the cooperation of all parties involved. The University encourages early

25               resolution options when the parties desire to resolve the situation cooperatively

26               and/or when a formal investigation is not likely to lead to a satisfactory outcome;
27
             •   Steps taken to encourage early resolution and agreements reached through early
28
                 resolution efforts should be documented;
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             •   Some reports of sexual harassment may not be appropriate for early resolution, but
 1

 2               may require a formal investigation at the discretion of the Title IX Officer;

 3           •   In response to reports of sexual harassment in cases where early resolution is
 4               inappropriate (such as when the facts are in dispute in reports of serious
 5
                 misconduct, or reports involve individuals with a pattern of inappropriate behavior
 6
                 or allege criminal acts such as stalking, sexual assault or physical assault), the
 7
                 campus may conduct a formal investigation. In such cases, the individual making
 8

 9               the report shall be encouraged to file written documentation regarding the

10               behaviors complained of. The wishes of the individual making the request shall

11               be considered, but are not determinative, in the decision to initiate a formal
12               investigation of a report of sexual harassment;
13
             •   Formal investigation of reports of sexual harassment shall incorporate the
14
                 following standards:
15
                      - Upon request the complainant and the accused may each have a
16

17                        representative present when he or she is interviewed;

18                    - The investigation shall be completed as promptly as possible and in most

19                        cases within 60 working days of the date the request for formal
20
                          investigation was filed;
21
                      - The complainant and the accused may request a copy of the investigative
22
                          report pursuant to University policy governing privacy and access to
23
                          personal information.
24

25                                      d. Sexual Assault Policy

26     18.   The University’s Sexual Assault Policy additionally included and required the
27           following:
28
             •   The University has a legal obligation to disclose the outcome of the discipline

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                    proceedings to the student who reports being sexually assaulted;
 1

 2             •    When a student reports an allegation of sexual assault, appropriate administrators

 3                  will work to try to ensure a safe environment for a complainant;

 4             •    When an incident is reported to any unit providing sexual assault resources on
 5
                    campus, the unit that receives the information shall report the incident to the
 6
                    Director and Title IX Officer at earliest awareness;
 7
               •    At the direction of the Director and Title IX Officer, the CSC will conduct an
 8

 9                  investigation of the allegations in the case. The procedures described in the Code

10                  of Student Conduct will be followed in resolving allegations of sexual assault.

11     19.      The Code of Student Conduct and the Sexual Assault Policies both state that the CDC
12           would conduct the investigations into sexual assault allegations at the direction of the Title
13
             IX Complaint Officer. However, in direct contradiction to the Code of Student Conduct,
14
             the Interim Sexual Misconduct Policy, which had adopted the requirements of the DCL,
15
             states that the OPHD will investigate complaints of sexual misconduct, including sexual
16

17           assault and harassment.

18                         3. The California State Audit and Findings re University’s

19            Policies and Practices Relating to Its Response to Sexual Misconduct Complaints
20
       20.     In June of 2014, the California State Auditor published a report entitled “Sexual
21
               Harassment and Sexual Violence: California Universities Must Better Protect Students
22
               by Doing More to Prevent, Respond to, and Resolve Incidents” (the “Audit”)
23
               (https://www.auditor.ca.gov/pdfs/reports/2013-124.pdf).
24

25     21.     The Audit studied the handling of sexual violence incidents at four California

26             universities, including the University. The Audit analyzed 20 case files at each
27             university for the period 2009 through 2013. One of the examples used in the Audit is
28
               Karasek’s complaint.

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       22.   Among other conclusions, the Audit concluded the following:
 1

 2           •   The universities do not ensure that all faculty and staff are sufficiently trained on

 3               responding to and reporting these incidents to appropriate officials;

 4           •   Certain university employees who are likely to be the first point of contact are not
 5
                 sufficiently trained on responding to and reporting these incidents;
 6
             •   The universities must do more to properly educate students on sexual harassment
 7
                 and sexual violence;
 8

 9           •   The universities did not always comply with requirements in state law for

10               distribution of relevant policies;

11           •   The universities need to better inform students who file a complaint of the status
12
                 of the investigation and notify them of the eventual outcome. When universities
13
                 do not provide regular updates on their investigation, they are not meeting the
14
                 needs of their students. Students who experience sexual harassment or sexual
15

16               violence may experience residual feelings of stress or fear, even if the danger is no

17               longer imminent, and periodic status updates may help reduce this anxiety by

18               assuring complainants that their concerns are being taken seriously and that the
19               process is proceeding to a definitive outcome.
20
       23.   With respect to the University, the Audit found the following:
21
             •   The University’s Title IX officer handled 120 student complaints of sexual
22
                 harassment or sexual violence against faculty, staff, and students between 2009
23

24               and 2013;

25           •   Some concerns were identified regarding whether the University notified
26               complainants and respondents of case outcomes;
27
             •   Some concerns were identified regarding whether the University investigated
28
                 complaints in a timely manner;
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             •   The discretion within the UC policy to not initiate a formal investigation when
 1

 2               requested to do so by the complainant, as opposed to requiring a formal

 3               investigation when requested, does not align with instructions in the 2011 DCL,

 4               which indicate that the complainant must be notified of the right to end the
 5
                 informal process at any time;
 6
             •   If a UC Title IX coordinator decides to use early resolution, the coordinator needs
 7
                 to engage complainants in ongoing communication to attempt to achieve a
 8

 9               mutually agreeable resolution. Using an informal approach that involves no

10               substantive communication with complainants is not consistent with federal

11               guidance;
12
             •   Between 2009 and 2013, the University resolved 76 percent of Title IX complaints
13
                 from students using the early resolution process, meaning no formal investigation
14
                 was conducted;
15
             •   With respect to Karasek’s complaint, there was no indication in the case file that
16

17               university officials provided any updates to the complainants, including that the

18               complaint would be handled using the early resolution process. The Title IX
19               officer acknowledged that her office did not maintain routine communication with
20
                 the complainants throughout the process;
21
             •   Of the 20 case files reviewed, the University completed 11 investigations within
22
                 60 working days (or 90 working days if the university officials approved an
23

24               extension). An investigation is completed when a determination is made by the

25               Title IX coordinator in an investigative report, prior to referral to the Center for

26               Student Conduct.
27
       24.   With respect to the University, the Audit made the following recommendations:
28
             •   The University should create and use a document to share with students that
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                 explains what students should expect from the complaint process;
 1

 2           •   The University should ensure that the differences between an informal or early

 3               resolution process and a formal investigation process are clearly explained to

 4               ensure that students know what to expect from each process. Further, they should
 5
                 explain that students whose cases are being handled under an informal or early
 6
                 resolution process have the right to move to a formal process at any time;
 7
             •   The University should provide regular updates on the status of their investigations
 8

 9               to students filing or responding to complaints. Additionally, the universities

10               should notify the students of the resolution of the complaints;

11           •   The University should regularly evaluate the timeliness of investigations and
12               ensure that they complete investigations within established timelines.
13
                          4. The University’s History of And Deliberate Indifference to
14
                                           Sexual Misconduct Complaints
15
       25.   Plaintiffs are informed, believe, and on that basis allege, that the University
16

17           underreported the amount of sexually violent incidents that occurred on campus during

18           the years prior to Plaintiffs’ enrollment at the University.

19     26.   For the year 2013, 14 cases of student-on-student sexual misconduct were reported to
20
             the University’s CSC. Of the 14 reported cases, no formal hearings were held. In other
21
             words, all 14 cases were resolved through the University’s informal resolution process.
22
       27.   In April of 2013 the Associated Students of the University passed a “bill of no
23
             confidence” in the University’s sexual assault policies and disciplinary procedures.
24

25     28.   In several publicly available investigation reports, including reports generated prior to

26           the sexual assaults alleged by Plaintiffs herein, the University has admitted that “Sexual
27           harassment may include incidents between any members of the University community,
28
             including faculty and other academic appointees, staff, coaches, housestaff, students,

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             and non-student or non-employee participants in University programs, such as vendors,
 1

 2           contractors, visitors, and patients.”

 3     29.   In 2014, thirty-one people filed an administrative Title IX claim with the Office of Civil

 4           Rights, alleging that as far back as 1979, the University failed to adequately respond to
 5           their reports that they had been sexually assaulted.
 6
       30.   Based on information and belief, as early as 1999, if a student reported that they had
 7
             been sexually assaulted, the University’s policy dictated that the student be notified of
 8
             their rights under the law, as well as their ability to report their assault to law
 9

10           enforcement.

11     31.   Based on information and belief, Denise Oldham (“Oldham), the University’s interim

12           Title IX officer, indicated to the Los Angeles Times in February 2014 that the
13
             University does not use early resolution for sexual assault cases, stating, “I can’t
14
             imagine a situation where that would be appropriate.”
15
       32.   By contrast, at least three witnesses were told by Oldham that the OPHD handles
16
             approximately 500 cases per year and that of the 500 cases handled in 2012 only two
17

18           were resolved through a formal process.

19     33.   Plaintiffs are informed and believe and thereon allege that Defendant University
20           consciously and intentionally opts to engage in an informal process upon receipt of a
21
             complaint of sexual violence against a female student without informing the student of
22
             her right to participate in the informal process or to reject the informal process in favor
23
             of a formal investigation and hearing. Plaintiffs are further informed and believe and
24

25           thereon allege that Defendant University intentionally uses the informal process to

26           avoid the reporting requirements of the Jeanne Clery Disclosure of Campus Security

27           Policy and Campus Crime Statistics Act (“Clery Act”), 20 U.S.C. § 1092(f), because it
28           takes the position that if the matter is resolved informally, it is not required to report

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             the offense as mandated by the Clery Act.
 1

 2      C. BACKGROUND FACTS RELATED TO SOFIE KARASEK’S COMPLAINT

 3     34.   Karasek enrolled at the University in the Fall of 2011. Karasek never received any

 4           education regarding the University’s sexual misconduct policies during her orientation,
 5           or at any time subsequent.
 6
       35.   During her freshman year at the University, Karasek was involved in the Cal Berkeley
 7
             Democrats Club (“Club”), a student organization affiliated with the University.
 8
       36.   Karasek is informed, believes, and on that basis alleges, that at the bi-annual Club
 9

10           retreat in 2008 the then Club president sexually assaulted another member of the Club.

11           When this Club member reported her assault to the University’s Police Department she

12           was told the University could do nothing because the assault occurred off campus,
13
             despite it being at a Club event. She was provided no services, no Title IX investigation
14
             was started nor completed, and the assailant remained in his position of authority in the
15
             Club.
16
       37.   In 2011, a female member of the club was sexually assaulted by a male student member
17

18           of the club during a Club retreat in Lake Tahoe. Karasek is further informed, believes,

19           and on that basis alleges that the University knew of this sexual assault, but did nothing
20           in response.
21
       38.   During this same Club retreat in Lake Tahoe in 2011, TH, the male student who would
22
             eventually sexually assault Karasek, sexually assaulted a female member of the Club.
23
             Karasek is informed, believes, and on that basis alleges, that the University knew about
24

25           this sexual assault but failed to respond to it.

26     39.   On the weekend of February 10 through February 12, 2012, the Club organized a trip

27           to the California Democratic Party Convention being held in San Diego, CA.
28     40.   Karasek attended this event with the Club.

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       41.   On the night of February 10, 2012, Karasek slept in the same bed with three other
 1

 2           students, including a student named TH.

 3     42.   At around 3:00 am, Karasek awoke to TH massaging her legs, back and buttocks.

 4           Karasek froze in the moment, and TH continued to inappropriately rub her for
 5           approximately 30 minutes.
 6
       43.   Karasek is informed, believes, and on that basis alleges, that TH never received any
 7
             education from the University on prohibited sexual misconduct or the University’s
 8
             policies related to sexual misconduct.
 9

10     44.   On February 14, 2012, the president of the Club met with Marisa Boyce (“Boyce”)

11           from the Gender Equity Resource Center. The Club president informed Boyce that that

12           Sofie Karasek, and two other unidentified women, had reported being sexually
13
             assaulted by TH. This amounted to actual knowledge of three sexual assaults
14
             committed by TH.
15
       45.   Also at this meeting, the president of the Club asked Boyce the Club’s responsibilities
16
             surrounding the issue of sexual misconduct. The Club president told Boyce that she
17

18           was thinking about removing TH from the Club altogether. In response, Boyce

19           consciously and intentionally discouraged this approach and suggested that the Club
20           use more informal, restorative justice models to deal with TH. Boyce went on to reason
21
             that pushing TH too far out of his social circle would not be ideal because he probably
22
             would assault other women and would not have any support around him if he engaged
23
             in this type of conduct again.
24

25     46.   Documents provided by Defendant suggest that Christine Ambrosio (“Ambrosio”),

26           Director of Women’s Resources at the Gender Equity Resource Center attended the

27           February 14, 2012 meeting. However, Karasek is informed, believes and on that basis
28           alleges, that the aforementioned meeting actually occurred between the Club president

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             and Boyce, not Ambrosio. The February 14, 2012 document memorializing the
 1

 2           meeting specifically identifies Sofie Karasek as having been assaulted and describes

 3           the details of her assault. It also indicates that this information was provided to

 4           numerous departments of Defendant University including OPHD and CSC.
 5     47.   On February 14, 2012 Ambrosio sent an email to Oldham, the Interim Title IX Officer
 6
             and Director, Hallie Hunt (“Hunt”), the Director of the CSC, and Paula Flamm,
 7
             explaining that two students had been sexually assaulted by one of the officers of the
 8
             Club. She additionally asked about informal models for dealing with sexual assault
 9

10           that she could present to the Club president.

11     48.   On February 15, 2012 Oldham responded to Ambrosio’s email. Oldham did not

12           address the sexual assault allegation specifically. With respect to the use of informal
13
             procedures to respond to claims of sexual harassment and/or assault, Oldham cautioned
14
             that she was “…very wary of the use of these models for any kind of sexual harassment,
15
             let alone and [sic] extreme form like sexual assault.” Oldham further acknowledged
16
             the significance of the DCL and informed that, “…recent federal guidelines are
17

18           indicating that any kind of mediation is not appropriate for these kinds of cases at

19           educational institutions.” Oldham also admitted that the University’s suggestion of
20           informal procedures for responding to sexual misconduct “…might implicitly suggest
21
             that the campus condones that approach.”
22
       49.   Based on the advice of staff at the Gender Equity Resource Center, the Club president,
23
             who is just another student and not a member of the faculty or administration, invited
24

25           TH to a private meeting. During that meeting TH admitted assaulting Karasek. The

26           Club president asked TH to resign from his board position but allowed him to continue

27           to attend “non-social” club events, such as meetings, professional events, and guest
28           lectures. TH resigned from his board position in the Club.

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       50.   Though no longer a board member, TH continued to participate in Club events and
 1

 2           activities. As a result, Karasek avoided Club meetings and activities for fear of further

 3           harassment by, or encounters with, TH.

 4     51.   On April 6, 2012, after Defendant University administrators consciously and
 5           intentionally took no remedial action to protect Karasek or other female students after
 6
             they had actual knowledge of TH’s propensities over two months earlier, TH assaulted
 7
             another female member of the Club, Jane Doe. The Club president received a phone
 8
             call early the next morning from a club member who was aware of Karasek’s assault
 9

10           by TH and expressed concern about TH’s behavior with Jane Doe. The Club president

11           then telephoned Jane Doe and learned of her assault by TH.

12     52.   Not only did the University take no remedial measures to protect University students
13
             from TH following its actual notice of the sexual assault of Karasek, instead, the
14
             University intentionally prevented remedial measures from being taken by the Club by
15
             instructing the Club president to keep TH in the Club. On April 9, 2012 the Club
16
             president contacted the University to follow-up on the previously reported sexual
17

18           assaults by TH and informed the University that two other female students had come

19           forward stating they had been assaulted by TH.
20     53.   After discovery of the April 6, 2012 assault by TH the Club president took it upon
21
             herself to ask him to leave the organization, against the University’s earlier instruction
22
             to allow him to remain.
23
       54.   On April 12, 2012 Ambrosio sent an email to Oldham and Hunt informing them that
24

25           two additional victims of TH had come forward.

26     55.   On April 20, 2012, Karasek, along with the three other female students who had been

27           sexually assaulted by TH, met with Oldham and Hunt to formally report their assaults.
28     56.   During the April 20, 2012 meeting the four women expressed their concerns regarding

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             TH’s planned attendance in the upcoming Cal in the Capitol program over the summer.
 1

 2     57.   At no time during this meeting, or after, was Karasek informed of potential options for

 3           resolving the allegation, including procedures for early resolution or a formal

 4           investigation. This was contrary to the University’s Sexual Harassment Policy.
 5     58.   At no time during this meeting, or after, was Karasek informed about the range of
 6
             possible outcomes of her report, including any interim protections such as a no contact
 7
             order, or disciplinary actions that may be taken against the accused. This was contrary
 8
             to the University’s Sexual Harassment Policy.
 9

10     59.   Karasek was never informed, at the meeting or otherwise, that according to the

11           University’s policies, in order to initiate a formal complaint against TH to trigger a

12           University investigation, she would need to submit a written statement detailing her
13
             assault. This was contrary to the University’s Sexual Harassment Policy.
14
       60.   Just out of luck, one of TH’s victims told Karasek that she had submitted a written
15
             statement to the University detailing her assault. Still unaware that a written report was
16
             required to initiate a formal investigation, Karasek thought it was a good idea and also
17

18           submitted a written report to Hunt on May 15, 2012.

19     61.   In her email and statement of May 15, 2012 Karasek again expressed concern over
20           allowing TH to attend the Cal in the Capital program and the possibility that he may
21
             assault another. Karasek also indicated that she could take a screenshot of the friend
22
             request she had received from TH if that would help in the investigation.
23
       62.   Karasek received no response to her complaint.
24

25     63.   Later, Karasek learned from the president of the Club, that the administration had

26           advised against removing TH from the Club because they were concerned that if he

27           went to another student group, he may assault someone and there would not be the
28           same support structure for a survivor in that group. The University was also concerned

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             that TH would not have the support of his friends in processing that what he did was
 1

 2           wrong.

 3     64.   The administration did advise the president of the Club that they could make TH

 4           sufficiently “uncomfortable” to leave on his own accord.
 5     65.   For the next eight months, Karasek was never contacted about her complaint.
 6
       66.   Meanwhile, the University was taking virtually no action to investigate Karasek’s
 7
             complaint.
 8
       67.   Three months after receiving notice of TH’s assaults of several women, and one month
 9

10           after these women’s meeting with several administrators, on May 14, 2012, Glenn

11           DeGuzman (“DeGuzman”), the Assistant Director of the CSC, met with TH. At this

12           meeting, TH admitted that he had problems and acted foolishly, especially when he had
13
             consumed alcohol. TH also admitted to engaging in the troublesome conduct even after
14
             being removed from office with the Club.
15
       68.   In his notes of the meeting, DeGuzman admitted that the nature of his meeting was not
16
             to investigate, but rather was “…focused on getting help so [TH] could move forward.”
17

18           After this meeting, DeGuzman followed up several times with TH to check on TH’s

19           progress with dealing with his admitted problems and to continue to offer his assistance
20           to TH in that regard.
21
       69.   Although TH had admitted to having “some problems” when questioned about sexually
22
             assaulting four separate women, TH was allowed to attend the Cal in the Capitol
23
             program over the 2012 summer months with no restrictions in place. DeGuzman sent
24

25           an email to TH on May 15, 2012 asking him to “please stay away from alcohol” but

26           immediately thereafter stating: “If you do drink, do so responsibly. Make the decision

27           now to not put yourself in situations to be alone with other women specifically if you
28           are drinking. Until you can better understand what you are experiencing, it is in your

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             best interest to not put yourself in that situation.”
 1

 2     70.   Oldham, Hunt and Ambrosio were also continually in contact with board members of

 3           the Club. At one point, on September 11, 2012, Oldham provided both the outgoing

 4           and incoming Club president with an update regarding Karasek’s complaint.
 5     71.   At no time did Oldham, or any other University administrator provide Karasek with an
 6
             update prior to the resolution of the complaint.
 7
       72.   On September 17, 2012 Oldham met with TH for the first time.
 8
       73.   On October 1, 2012, Oldham sent an email to the CSC summarizing the response to the
 9

10           complaints of sexual assault by TH. Despite having learned of the assaults on February

11           14, 2012, Oldham wrote that concerns of “unwelcome physical contact” were brought

12           to the attention of her office in “late April 2012.” Additionally, despite her prior
13
             acknowledgment that informal resolution procedures such as mediations are never
14
             appropriate in instances of sexual assault, Oldham stated that, “After examining the
15
             information submitted by the two women students and consulting DeGuzman about his
16
             positive impressions of the developmental discussion he’d had with [TH], I determined
17

18           that this situation could be resolved without a formal investigation by my office.”

19           According to this e-mail, it was only after this determination was made that Oldham
20           met with TH. Finally, Oldham acknowledged that from her perspective, she considered
21
             the sexual harassment issue with TH to be resolved.
22
       74.   Oldham did not conduct a formal investigation of Karasek’s, or the three other victims’,
23
             sexual assault complaints against TH. Oldham engaged in an early resolution of the
24

25           complaints without obtaining the cooperation of all involved parties. The intentional

26           decision by Oldham to engage in early resolution was contrary to the University’s

27           Sexual Harassment Policy.
28     75.   At no time was Karasek consulted to determine if she desired to engage in an early

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             resolution of her complaint, despite her having submitted a written statement.
 1

 2     76.   Despite the early resolution determination taking more than 60 days, Karasek was never

 3           contacted regarding the status of the investigation, or lack thereof, nor was she provided

 4           an estimated date for the completion of any potential investigation.
 5     77.   On October 10, 2012, 9 months after having actual knowledge of the sexual assault
 6
             complaint, DeGuzman sent an Administrative Disposition Letter to TH. In this letter,
 7
             DeGuzman informed TH that he had been found to have violated the University’s
 8
             Student Code of Conduct for engaging in disorderly or lewd conduct. DeGuzman
 9

10           offered TH a choice to either meet with DeGuzman to tell his side of the story and

11           participate in the resolution of his case, or, to simply accept responsibility. If TH chose

12           to accept responsibility, he would have been subject to the following sanctions:
13
             •   Disciplinary probation effective October 12, 2012 through December 12, 2012
14
                 when TH was set to graduate;
15
             •   One consultation with a licensed mental health practitioner of TH’s choice;
16

17           •   One appointment with an Alcohol and Other Drugs Counselor in Social Services

18               at the Tang Center;

19           •   One meeting with Alan Creighton, Health Educator, to check-in regarding gender
20
                 issues and sexual misconduct as it related to TH’s case.
21
       78.   At some point TH was assigned a Student Advocate caseworker.
22
       79.   Unlike TH, Karasek was never assigned a Student Advocate caseworker.
23

24     80.   On October 18, 2012, TH sent an e-mail to an Independent Hearing Officer along with

25           a timeline of events that had occurred with respect to the allegations against him. In

26           this e-mail TH asked the Officer to review the timeline to see if there were any
27           procedural problems with respect to how the University addressed the women’s
28
             complaints against TH, specifically since he first met with DeGuzman in May and did

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             not receive his Alleged Violation Letter until October 10, 2012.
 1

 2     81.   Unlike TH, Karasek was never offered an opportunity to discuss the appropriateness of

 3           the University’s untimely response to her complaint of sexual assault against TH.

 4           TH chose to meet with DeGuzman and participate in the resolution of his case, and in
 5           fact did meet with DeGuzman on October 19, 2012.
 6
       82.   On October 24, 2012, DeGuzman sent another Administrative Disposition Letter to TH
 7
             that ostensibly incorporated their agreement at their prior meeting. This letter similarly
 8
             gave TH the choice to accept responsibility. However, this letter removed the sanction
 9

10           requiring TH to meet with Alan Creighton to discuss gender issues and sexual

11           misconduct – which were the very issues that led to his discipline in the first place.

12     83.   On October 26, 2012 TH returned his signed Administrative Disposition Letter to
13
             DeGuzman, indicating he wished to accept the sanctions within the October 24, 2012
14
             Administrative Disposition Letter, and thus accepted the informal resolution procedure.
15
       84.   At no time was Karasek consulted regarding the proposed informal resolution of her
16
             complaint, including any of the proposed sanctions. The intentional decision by the
17

18           University to engage in an informal resolution of Karasek’s complaint without

19           consulting her regarding the proposed informal resolution was contrary to the
20           University’s Interim Sexual Misconduct Policy.
21
       85.   At no time was Karasek provided a copy of the signed Administrative Disposition nor
22
             was she provided a copy of any of the evidence submitted by TH in support of his
23
             version of the events.
24

25     86.   At no time was Karasek informed of her rights to appeal the decision of the CSC to

26           enter into an informal resolution.

27     87.   Karasek learned from a board member of the Club that TH was set to graduate in
28           December of 2012. Up to this time, Karasek had yet to be contacted by the University

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             regarding her formal complaint.
 1

 2     88.   On November 2, 2012, Karasek went to Ambrosio’s office and expressed her

 3           frustration and concern that she was not being treated fairly, and that she had not heard

 4           from anyone at the University regarding her complaint. She also expressed concern at
 5           the length of time that had passed, given that she knew TH was graduating in December
 6
             of 2012.
 7
       89.   On November 6, 2012 Ambrosio e-mailed Karasek and informed her that Ambrosio
 8
             was waiting to hear back from the CSC regarding an update on the investigation.
 9

10     90.   On November 15, 2012, Karasek e-mailed Ambrosio in follow up, requesting an update

11           on the investigation. Karasek received no response.

12     91.   On December 2, 2012, Karasek again e-mailed Ambrosio requesting an update on the
13
             investigation. Karasek again received no response.
14
       92.   Finally, on December 12, 2012, Karasek received her first communication from the
15
             University since her initial meeting took place in April of 2012. This three sentence e-
16
             mail from the Title IX office informed Karasek that “this matter had been explored and
17

18           resolved using an early resolution process outlined in our campus procedures for

19           responding to sexual harassment complaints” and that the Title IX officer had
20           “communicated the outcome of the resolution process to the Center for Student
21
             Conduct.” Nowhere in this brief communication was the outcome of the resolution
22
             process ever revealed to Karasek.
23
       93.   At no time during the early resolution process was Karasek ever contacted by any
24

25           administrator involved in the investigation and/or resolution process.

26     94.   On December 17, 2012, three days after TH graduated, a representative from the CSC

27           informed Karasek by e-mail that TH had been charged with violating, and had been
28           found to be in violation of, the Campus Code of Student Conduct. However, Karasek

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             was still not apprised of any disciplinary action that may have been taken against TH.
 1

 2           Failing to disclose the outcome of the discipline proceedings violated the University’s

 3           Sexual Assault Policy.

 4     95.   Unsatisfied with the entire resolution process, Karasek filed a Federal Clery Act
 5           complaint against the University in May of 2013.
 6
       96.   On September 2, 2013 Karasek contacted Oldham to again attempt to ascertain what,
 7
             if any, disciplinary action had been taken against TH.
 8
       97.   Hunt responded on September 20, 2013 that TH had been placed on a disciplinary
 9

10           probation and engaged in some counseling measures, but did not give any specific

11           detail as to what counseling measures had been taken.

12     98.   Hunt informed Karasek that the CSC characterized her case as “sexual misconduct.”
13
       99.   At no time was Karasek given the opportunity to appeal the University’s disciplinary
14
             decision. Further, any appeal would have been futile as Karasek was not even notified
15
             of TH’s sanctions until nine months after TH had graduated.
16
       100. At no time was Karasek given updates about the investigation or the potential
17

18           resolution.

19     101. At no time was Karasek ever encouraged, or even informed, that she could report her
20           assault to law enforcement.
21
       102. Karasek was never afforded the opportunity to present her claim at a disciplinary
22
             hearing or meaningfully participate in any part of the complaint process.
23
       103. During the entire pendency of the resolution process, TH was allowed to remain on
24

25           campus, unrestricted, creating a sexually hostile environment for Karasek. Th was also

26           allowed to remain in his position as a campus tour guide.

27     104. Throughout the pendency of the process, and even after, Karasek was constantly
28           operating with a heightened sense of fear, anxiety and stress knowing that her assailant

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              remained unrestricted on campus, and that there were other possible perpetrators in her
 1

 2            classes that had not been removed, or otherwise disciplined, by the University.

 3     105. On one occasion, Karasek saw TH from afar as she was walking to class. Because the

 4            University had taken no steps to ensure that TH would not continue to harass, or
 5            otherwise harm Karasek, Karasek took her safety and wellbeing into her own hands,
 6
              and in an effort to avoid her assailant, she was forced to change her usual path to class
 7
              and take a longer route.
 8
       106. Karasek also encountered TH while she was participating Club events held off campus.
 9

10            Karasek is informed and believes and on that basis alleges that if a no contact order had

11            been issued, TH would not have been allowed to be present at these events at the same

12            time as Karasek was in attendance.
13
       107. As a result of the University’s conduct, and lack of conduct Karasek has suffered
14
              psychological and emotional damages, and has experienced a loss of educational
15
              opportunities and/or benefits, including but not limited to:
16

17            •   Being forced to change her major from Economics to the less academically

18                rigorous Political Economy;

19            •   Suffering a noticeable drop in her GPA subsequent to the University’s inadequate
20
                  response to her report;
21
              •   Being forced to drop at least one class;
22
              •   Being forced to miss assignments and ask for extensions on assignments.
23

24            D. BACKGROUND FACTS RELATED TO ARYLE BUTLER’S COMPLAINT

25     108.   While a student at the University, at no time did Butler receive any formal education

26            from the University regarding prohibited sexual misconduct, or the University’s sexual
27            misconduct policies.
28
       109. During the 2011-2012 academic schoolyear, Margot Higgins (“Higgins”) was a PhD

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             candidate and Graduate Student Instructor (“GSI”) at the University. In her role as a
 1

 2           GSI, Higgins instructed undergraduate students at the University.

 3     110. Also in her role as a GSI, Higgins received training from the University. Specifically,

 4           GSI’s were required to attend a day to day-and-a-half long training on issues such as
 5           how to lead discussions, or how to organize labs. GSI’s were also required to take a
 6
             semester-long graduate student training course.      Higgins attended both of these
 7
             trainings.
 8
       111. Despite attending the GSI training and completing the semester-long graduate student
 9

10           training course, Higgins has no recollection of receiving any training on sexual

11           misconduct, including how to detect, prevent, or respond to sexual misconduct.

12     112. As a GSI, Higgins was an agent of the University.
13
       113. During the summer of 2012, Butler signed a work contract (“Contract”) with the
14
             University to serve as an assistant to Higgins who was going to be conducting research
15
             in Alaska that summer. The Contract was printed on official University letterhead. The
16
             Contract also indicated that “Data gathered through this study is the property of Margot
17

18           Higgins under the auspices of UC Berkeley.” Moreover, the Contract provided a release

19           of liability clause seeking to hold harmless both Higgins and the University.
20     114. Butler understood that she was being employed by the University.
21
       115. Butler is informed, believes and on that basis alleges, that the University authorized
22
             Higgins to hire and supervise an undergraduate assistant while Higgins conducted her
23
             research in Alaska.
24

25     116. Higgins was on the board of The Wrangell Mountain Center (“The Center”) which

26           housed the Alaska Wildlands Studies Program (“The Program”).

27     117. The University advertises for University students to enroll in the Program, and
28           University students receive academic credit for completing the Program.

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       118. John Doe is on the board of The Center and is a guest lecturer for the Program.
 1

 2     119. John Doe was, at all relevant times, a guest lecturer at the University and was frequently

 3           on campus in this capacity while Butler was a student at the University.

 4     120. Higgins met John Doe through their mutual work at The Center. Prior to the Summer
 5           of 2012, Higgins personally experienced John Doe engage in inappropriate conduct
 6
             with her that made her feel uncomfortable. What’s more, prior to the Summer of 2012,
 7
             John Doe’s inappropriate behavior was generally discussed among women at the
 8
             Center, and Higgins knew of several other women who had experienced his
 9

10           inappropriate behavior.

11     121. Prior to the Summer of 2012, Higgins was aware that John Doe would be living at The

12           Center. Notwithstanding the fact that she had experienced inappropriate behavior by
13
             John Doe, and was aware that several other women had also experienced inappropriate
14
             behavior by John Doe, Higgins arranged for Butler to live at the Center.
15
       122. Toward the end of June 2012, Butler was in the dining hall at The Center. John Doe
16
             approached Butler from behind, pressed Butler up against a table, and proceeded to
17

18           insert his hands in to Butler’s underwear and massage Butler’s genitals. Butler could

19           feel John Doe’s breath on her right shoulder as he continued to assault her. After a
20           short time, John Doe stopped, removed his hands from Butler’s underwear, and left
21
             without saying anything.
22
       123. The next day, Butler contacted Higgins to report what had happened. Butler did not
23
             reveal the name of her assailant to Higgins.          However, unprompted, Higgins
24

25           specifically asked Butler if it was John Doe who had touched her inappropriately.

26           Butler confirmed to Higgins that it was John Doe who had assaulted her, but asked that

27           Higgins not say anything at that time.
28     124. A few days later, Butler was in the library at the Center. John Doe entered the room

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             and maneuvered behind Butler’s chair. He swept her hair to one side and whispered
 1

 2           “it’s so nice to have such a beautiful woman around” into Butler’s ear. John Doe then

 3           patted Butler’s shoulder and left the room. Butler again reported this incident to

 4           Higgins.
 5     125. Later that summer, Butler was again in the kitchen at the Center preparing her dinner
 6
             when John Doe entered the room. He again maneuvered behind her, pressed her up
 7
             against the kitchen counter, reached around her body and rubbed Butler’s breasts
 8
             underneath her clothing. John Doe quickly retracted his hands after there was an
 9

10           audible noise outside the room. He then whispered “you have such a beautiful voice”

11           to Butler and left the room.

12     126. Butler immediately reported this assault to Higgins. Higgins was away for a few days
13
             and she advised Butler to pack her belongings and go to Higgins cabin, which was
14
             offsite from the Center and away from John Doe.
15
       127. Upon Higgins’ return, Butler asked Higgins if she had reported John Doe to anybody,
16
             or spoken to John Doe about the assaults. Higgins responded that she had done neither.
17

18     128. Upon completion of Butler’s employment with Higgins, Higgins mentioned to Butler

19           that she had spoken to John Doe and that she believed that John Doe “really gets it this
20           time.”
21
       129. Upon returning to the University, Butler reported her assaults to Ms. Ambrosio. Ms.
22
             Ambrosio set up a meeting between Butler and Ms. Oldham, the Title IX Coordinator.
23
             Ambrosio informed Butler that the meeting was to assess Butler’s credibility.
24

25     130. During the meeting, Butler identified John Doe as her assailant. Oldham repeatedly

26           asked Butler if she ever affirmatively rebuffed any of John Doe’s advances. She then

27           asked how John Doe was supposed to know his conduct was not welcomed if Butler
28           never affirmatively denied consent.

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       131. At the end of the meeting, Oldham admonished Butler regarding the consequences of
 1

 2           falsely reporting sexual assaults.

 3     132. Butler is informed, believes, and on that basis alleges that to date, there has been no

 4           investigation by the University into John Doe, nor has any disciplinary action been
 5           taken against John Doe.
 6
       133. As a result of the University’s conduct, and lack of conduct Butler has suffered
 7
             psychological and emotional damages, and has experienced a loss of educational
 8
             opportunities and/or benefits, including but not limited to:
 9

10            •   Being forced to withdraw from an internship she had secured with the Gender

11                Equity Resource Center because she was deemed “too political” for speaking out
12                against the way the University handles reports of sexual assault;
13
              •   Being forced to drop a class, required for her major, during finals week in the Fall
14
                  of 2013;
15
              •   Being forced to avoid classes altogether for fear that she would encounter John
16

17                Doe on campus.

18    E. BACKGROUND FACTS RELATED TO NICOLETTA COMMINS’ COMPLAINT

19     134. Commins was sexually assaulted in January 2012 in her apartment by John Doe 2, a
20
             student at the University.
21
       135. At no time did Commins receive any formal education from the University regarding
22
             prohibited sexual misconduct, or the University’s sexual misconduct policies.
23
       136. Commins is informed, believes, and on that basis alleges that at no time did John Doe
24

25           2 receive any formal education from the University regarding prohibited sexual

26           misconduct, or the University’s sexual misconduct policies.
27     137. Commins and John Doe 2 were acquainted through their mutual involvement with the
28
             Tae Kwon Do team at the University.

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       138. One night, Commins invited John Doe 2 over to her apartment. The night quickly
 1

 2           turned from flirtatious to John Doe 2 performing non-consensual sexual acts on

 3           Commins.

 4     139. Without Commins’ consent, John Doe 2 performed oral sex on Commins, tried to
 5           coerce Commins to perform oral sex on him by forcibly pushing her head towards his
 6
             genitals and getting on top of Commins and rubbing his penis on Commins face as she
 7
             turned away, and digitally penetrated Commins.
 8
       140. The next day, Commins reported her assault to the Tang Student Health Center at the
 9

10           University.

11     141. The Tang center performed a cursory exam, but did not perform a rape kit.

12     142. On January 20, 2012, Commins reported her assault to the University Police
13
             Department who in turn told her to go to the Berkeley Police Department. Her report
14
             to the University Police Department constituted actual knowledge by the University of
15
             her assault according to the University’s Sexual Assault Policy.
16
       143. She then went to Highland Hospital wherein a rape kit was performed. The rape kit
17

18           revealed evidence of trauma.

19     144. Four days prior to John Doe 2’s sexual assault of Commins, on January 16, 2012, John
20           Doe 2 had physically assaulted two other students at a party at a University fraternity
21
             house. These students reported this assault to the University, and John Doe 2 received
22
             notice of being charged with a violation of the Code of Student Conduct related to this
23
             incident on February 10, 2012.
24

25     145. In January of 2012 the Alameda District Attorney’s Office filed a criminal complaint

26           against John Doe 2 alleging multiple felony sexual assault charges based on the sexual

27           assault of Commins on January 20, 2012.
28     146. On or about January 31, 2012, the University sent a letter to John Doe 2 informing him

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             that he was placed on an interim suspension which prohibited him from entering any
 1

 2           part of the University campus and all University property. The letter additionally

 3           informed John Doe 2 that a hearing would be held on February 3, 2012 to determine if

 4           the prohibition would remain in place.        This interim suspension notice alleged
 5           violations for both the January 16, 2012 physical assault and the sexual assault of
 6
             Commins on January 20, 2012.
 7
       147. Commins was never informed of the interim suspension prohibition or that a hearing
 8
             would take place. Additionally, the prohibition did not include a “no contact” order
 9

10           with Commins. On February 3, 2012, the University held a hearing to determine if John

11           Doe 2 should remain on an interim suspension. Commins is informed and believes that

12           John Doe 2 was represented by counsel at that hearing. As a result of that hearing, the
13
             suspension was modified to allow John Doe 2 on campus to attend classes and given a
14
             window of time within which to get to and from his classes. This prohibition did not
15
             include a “no contact” order with Commins.
16
       148. Commins was not present at the hearing and no University official had yet spoken with
17

18           Commins to get her input as to whether John Doe 2 should remain on campus.

19     149. Commins was never informed that John Doe 2 was on any type of prohibition, or that
20           he was allowed to be on campus to attend his classes.
21
       150. Commins was never informed about any possible interim measures for her protection,
22
             including the ability to request a “no-contact” order.
23
       151. On February 22, 2012, Commins submitted an Incident Report Form, officially
24

25           reporting her assault, to the University’s Center for Student Conduct.

26     152. On or about March 5, 2012 Commins spoke with Julio Oyola (“Oyola”), Student

27           Conduct Specialist with the CSC. Oyola asked questions regarding the sexual assault.
28           Oyola told Commins that the University would perform an investigation, however,

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             Commins was made to believe that the investigation could not commence until after
 1

 2           the Berkeley Police Department finished with their investigation. Commins was asked

 3           if she was comfortable with the University delaying its investigation until after the

 4           criminal proceedings had concluded.         Commins responded that she was not
 5           comfortable with any delay in the commencement of the University’s investigation.
 6
       153. Commins is informed and believes that Oyola met with John Doe 2 on March 6, 2012.
 7
       154. On March 22, 2012 Oyola sent John Doe 2 the official notice of charges relating to his
 8
             sexual assault of Commins.
 9

10     155. On March 23, 2012 Oyola sent John Doe 2 copies of his student conduct record.

11     156. On April 2, 2012, an investigator working for John Doe 2’s attorney called Commins.

12           This investigator caught Commins off guard and attempted to pressure her into
13
             consenting to allow John Doe 2 to continue his studies at the University, and Commins
14
             conceded that she could comfortably complete her studies if John Doe 2 was on
15
             campus. She also asked if Commins would be comfortable with the University staying
16
             their investigation until John Doe 2’s criminal proceedings were completed. Commins
17

18           responded that she needed more time to think about the last request.

19     157. This contact by John Doe 2’s agent amounted to additional intimidation and harassment
20           of Commins subsequent to her report of sexual assault.
21
       158. Later that same day, Commins e-mailed Oyola regarding her contact by John Doe 2’s
22
             investigator as well as the contents of their conversation. Commins informed Oyola
23
             that she was not comfortable with the University waiting to initiate their investigation
24

25           until after John Doe 2’s criminal proceedings had concluded. In explaining this to

26           Oyola, Commins wrote that she did not think she had any say in whether the school’s

27           disciplinary action could be stayed. She also informed Oyola that she was not sure she
28           was comfortable with John Doe 2 being allowed to remain on campus at all. In

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             conclusion, Commins wrote: “I just want to be sure that if my opinions become a
 1

 2           consideration in any of these issues, I will be able to express them firsthand.”

 3     159. On April 4, 2012 Oyola spoke with John Doe 2. Oyola’s notes indicate that John Doe

 4           2 made a request to “stay the process until criminal proceedings have been resolved.”
 5     160. On April 19, 2012 Oyola met with John Doe 2 and his attorney. Oyola’s notes from
 6
             this meeting indicate that they engaged in discussions regarding an informal resolution
 7
             of the matters and discussed the criminal proceedings.
 8
       161. University administrators continued to meet, or otherwise communicate with John Doe
 9

10           2 and his attorney on several occasions to discuss the commencement of the

11           investigation, request that John Doe 2’s complaints be resolved using the University’s

12           informal early resolution process, and provide information as to the measures John Doe
13
             2 was taking to ensure that he would not continue to engage in criminal misconduct in
14
             the future.
15
       162. On April 30, 2012 Commins met with Oldham. At this meeting, Oldham asked
16
             Commins to tell her what happened on the night of her assault. Oldham also asked
17

18           Commins to gather some documents when she went home and send them to Oldham.

19           Oldham did not explain to Commins about any investigation that would be taking place.
20           Nor did Oldham ask Commins whether she would agree to an informal resolution
21
             process. On April 30, 2012 John Doe 2’s attorney sent a letter to the Dean of Students
22
             requesting that any formal hearing process be stayed pending the outcome of John Doe
23
             2’s criminal charges and that the University engage in an informal resolution of the
24

25           complaints.

26     163. On May 4, 2012, the Dean of Students wrote a letter to John Doe 2 which again

27           modified John Doe 2’s interim suspension. Effective May 11, 2012 John Doe 2 was
28           once again to be prohibited from entering upon the University campus or any

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             University property.
 1

 2     164. On May 11, 2012, the Dean of Students sent a modified letter to John Doe 2 describing

 3           the same prohibition with additional caveats. The May 11, 2012 letter indicates that an

 4           agreement has been made between John Doe 2 and the University. In part, the letter
 5           states: “This interim suspension has been imposed in part to accommodate your request
 6
             to postpone the hearing upon your charges until such time as criminal charges pending
 7
             against you have been resolved. You and the [CSC] have agreed that charges pending
 8
             against you will not be heard without your consent prior to the earlier of the date set
 9

10           forth in the paragraph above.”      This letter was then signed by John Doe 2 in

11           acknowledgement of that agreement.

12     165. Commins were never informed of the agreement between John Doe 2 and the
13
             University, and was never given an opportunity to provide input as to the agreement.
14
       166. Despite having knowledge of Commins’ sexual assault for approximately three months,
15
             and despite Commins’ clear wishes that a University investigation ensue independent
16
             of John Doe 2’s criminal proceedings, the University honored John Doe 2’s request and
17

18           stayed the investigation.    This decision by the University was contrary to the

19           University’s Interim Sexual Misconduct Policy.
20     167. Plaintiff is informed, believes and on that basis alleges that the University delayed in
21
             placing John Doe 2 on a full interim suspension to allow him to complete his classes
22
             for the Spring 2012 semester.
23
       168. Commins was never notified about this interim suspension by anybody at the
24

25           University. Instead, Commins learned by the end of spring of 2012 that John Doe 2

26           had been placed on some sort of suspension and had moved back to Southern California

27           to live with his parents. Commins learned this information from the deputy district
28           attorney who was prosecuting John Doe 2 in criminal court for his sexual assault of

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             Commins.
 1

 2     169. On October 5, 2012, John Doe 2 was convicted of felony assault for his attack on

 3           Commins and was sentenced to five years probation and 1,000 hours of community

 4           service.
 5     170. In October through November of 2012, University administrators, including Hunt and
 6
             Oldham, engaged in several e-mail communications with John Doe 2’s attorney. John
 7
             Doe 2’s attorney received several updates regarding John Doe 2’s case, and offered to
 8
             provide evidence to support John Doe 2’s defense in the University investigation.
 9

10           Ultimately, John Doe 2’s attorney did provide evidence to Hunt and Oldham. John

11           Doe 2 also provided letters and recommendations from several witnesses to support the

12           defense of his University claim.
13
       171. Meanwhile, Commins was never allowed to provide any evidence to support her
14
             claims, and she was not allowed to view and comment on John Doe 2’s evidence.
15
       172. At some point in the late Fall or early Winter of 2012, Commins received a call from
16
             either Hunt or Erin Niebylski, another University administrator. On this call, it was
17

18           represented to Commins that she would be able to engage in a formal hearing process,

19           which would include her ability to present evidence and witnesses, prior to any
20           sanctioning of John Doe 2. She was never told that the University was engaging in an
21
             informal resolution process instead.
22
       173. On January 21, 2013, approximately one year after the University received actual
23
             knowledge of Commins’ sexual assault, and three and a half months after the resolution
24

25           of John Doe 2’s criminal proceedings, Oldham informed Commins and John Doe 2 that

26           she had completed the investigation and found that he had violated the University of

27           California Policy on Sexual Harassment. This finding would then be forwarded to the
28           Center for Student Conduct to evaluate whether John Doe 2 violated the Code of

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             Student Conduct.
 1

 2     174. In order to come to this conclusion, the University’s entire year-long investigation

 3           entailed: (1) an interview of Commins, (2) review of the Berkeley Police Department

 4           report regarding the assault of Commins, (3) review of Commins’ hospital records from
 5           the night of the assault, and (4) transcripts of online chat conversations between
 6
             Commins and John Doe 2. According to the Investigation Report John Doe 2 declined
 7
             to participate in an interview or otherwise respond directly to the allegations made
 8
             against him on advice of his attorney.
 9

10     175. On January 30, 2013, John Doe 2 and his attorney were provided with a copy of the

11           Title IX Investigation Report.

12     176. Commins was never provided a copy of the Title IX Investigation Report.
13
       177. At no time did anyone contact Commins to inform her of the status of the investigation,
14
             that it would not be completed within 60 days, or provide an estimate date for the
15
             completion of the investigation. The intentional decision by the University to delay the
16
             investigation pending the outcome of John Doe’s criminal case, and its failure to timely
17

18           complete the formal investigation was against the University’s Sexual Harassment

19           Policy.
20     178. On February 4, 2013, prior to issuing any sanction, or even suggested sanctions against
21
             John Doe 2, John Doe 2 and his attorney met with Hunt to discuss his side of both the
22
             physical assault and sexual assault he committed.
23
       179. On February 7, 2013 Hallie Hunt contacted Commins to ask if Commins would be
24

25           comfortable with John Doe 2 being suspended until Commins finished her studies at

26           the University. This is the first time a suspension of any kind of John Doe 2 was

27           mentioned to Commins. Commins responded that she would be most comfortable with
28           John Doe 2 being permanently expelled. Hunt told Commins that expulsion was not an

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             option. Commins took Hunt’s statement to mean that she had no choice and was forced
 1

 2           to accept a suspension of her assailant at best.

 3     180. On February 27, 2013, Hunt sent John Doe 2 an Administrative Disposition Letter

 4           (“ADL”), thanking John Doe 2 for meeting with her. This letter also informed John
 5           Doe 2 that he had been found to have engaged in “Physical Abuse” as it was defined in
 6
             the University’s Code of Student Conduct for both his physical assault of another
 7
             student, and his sexual assault of Commins. The ADL proposed an informal resolution
 8
             of his case if he were to accept the sanctions therein.
 9

10     181. At no time did anyone from the University speak with Commins to determine if she

11           agreed to an informal resolution.

12     182. At no time did anyone from the University advise Commins that she had a right to
13
             appeal the CSC’s decision to enter into an informal resolution.
14
       183. As a sanction for both his physical assault of another student, and his sexual assault of
15
             Commins, John Doe 2 negotiated and agreed to (1) a suspension through August 31,
16
             2015, (2) Exclusion from campus and official University functions through August 31,
17

18           2015, (3) Disciplinary probation for the remainder of his studies, (4) No contact with

19           Commins, and (5) a reflective writing assignment.
20     184. On March 5, 2013, the University officially resolved its grievance procedure against
21
             John Doe 2 using an informal resolution process when John Doe 2 accepted the
22
             sanctions laid out in Administrative Disposition Letter of February 27, 2013.
23
       185. Also in March 2013, Hunt sent an e-mail to Commins informing her of the outcome of
24

25           the informal resolution process. However, Hunt sent the e-mail to an e-mail address

26           that Commins had never used to communicate with the University regarding her report

27           of sexual assault, and one that Commins never checked. Accordingly, Commins did
28           not learn of the outcome of the resolution process at that time.

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       186. The Administrative Disposition Letter was never provided to Commins.
 1

 2     187. In July 2013 Commins e-mailed Hunt and Niebylski to request an update on the

 3           investigation. The next day, Hunt responded and outlined John Doe 2’s sanctions.

 4           Hunt did not inform Commins that John Doe 2’s sanctions were the result of both his
 5           physical assault of another student, and his sexual assault of Commins. Instead,
 6
             Commins was led to believe that the sanctions were only a result of John Doe 2’s
 7
             conduct against her.
 8
       188. In early April 2014 Commins contacted Hunt to inform her that Commins had been
 9

10           accepted to several graduate schools, including the University’s graduate school of

11           Public Health. Commins expressed to Hunt that although the University’s program

12           was her first choice, she was concerned that John Doe 2’s suspension would be lifted
13
             and he would be allowed to return to campus during the fall of 2015. Hunt informed
14
             Commins that she believed John Doe 2 intended to return to his studies at the University
15
             following his suspension.
16
       189. On April 17, 2014, Commins e-mailed Hunt to inform her that she had decided to enroll
17

18           at the University’s Public Health graduate school. Commins also told Hunt: “I have

19           made the choice to pursue my graduate studies at Berkeley in spite of the fact that I feel
20           it is a risk to my physical safety and emotional well-being, and so my excitement about
21
             starting the next chapter of my education is cheapened by feelings of anger,
22
             helplessness and fear.”
23
       190. On September 15, 2014, Commins’ father sent a letter to Nicholas B. Dirks, Chancellor
24

25           of the University. Mr. Commins outlined all of the details of both the criminal and

26           University investigation of John Doe 2 for sexually assaulting his daughter, including

27           that John Doe 2 was convicted of felony assault, and suspended by the University. Mr.
28           Commins also informed Chancellor Dirks that Commins was going to be enrolling in

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             the University’s graduate program of Public Health and would therefore be on campus
 1

 2           when John Doe 2 was allowed to return. Mr. Commins requested, on behalf of his

 3           daughter, that John Doe 2 not be allowed to return to the University. In response to his

 4           request, Commins’ father received boilerplate responses from low level University
 5           employees.
 6
       191. Despite both Commins’ and her father’s protestations, John Doe 2 was allowed to
 7
             recommence his studies at the University in late August of 2015 and graduated from
 8
             the University.
 9

10     192. Despite the University putting in place a No Contact Order with Commins, John Doe

11           2 was still allowed back on campus, even though he had demonstrated violent

12           propensities and a disregard of the law and school policies. Notwithstanding the
13
             restrictions placed on John Doe 2, a convicted felon at the time, Commins was still
14
             forced to maintain a heightened vigilance knowing that her assailant could not be
15
             trusted to control his conduct or adhere to such restrictions.
16
       193. At no time following the informal resolution process was Commins ever given an
17

18           opportunity to appeal any of the sanctions.

19     194. At no time during the informal resolution process was Commins allowed to provide
20           evidence and/or witnesses to support her allegations. Nor was Commins ever allowed
21
             to see the evidence John Doe 2 provided, let alone comment or provide rebuttal
22
             evidence.
23
       195. Despite Oldham’s concession that informal resolution procedures are never appropriate
24

25           to respond to complaints of sexual assault, and despite the University’s representation

26           to Commins that there would be a formal hearing process in which she would be

27           allowed to participate, the University used an informal resolution process to resolve
28           Commins’ complaint.

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       196. As a result of the University’s conduct, and lack of conduct, Commins has suffered
 1

 2           psychological and emotional damages, and has experienced a loss of educational

 3           opportunities and/or benefits, including but not limited to:

 4            •   Being forced to drop a class because it let out at night, and she was fearful of
 5
                  encountering John Doe 2 on campus after dark;
 6
              •   Avoiding enrollment in any classes that let out after dark, unless she knew
 7
                  someone in the class that could walk her home, because she was fearful she would
 8

 9                encounter John Doe 2 on campus;

10            •   Being forced to take a reduced course load for the semester after her report, and

11                having to stay in school for an extra summer to make up for her reduced course
12                load;
13
              •   Withdrawing her participation in the Tae Kwon Doe Club; and
14
              •   Significantly higher amounts of absences from classes;
15

16            •   A significant reduction in the enjoyment of her academic experience at the

17                University.

18                                           COUNT ONE
19
     DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF 20 U.S.C. § 1681
20
                                              (TITLE IX)
21
                    (ALL PLAINTIFFS AGAINST DEFENDANT REGENTS)
22
       197. Plaintiffs incorporate all paragraphs of this Complaint as if fully set forth herein.
23

24     198. Defendant maintained a policy of indifference to sexual misconduct on campus.

25     199. Defendant’s policy of indifference created a heightened risk of sexual harassment on
26           campus that was known and/or obvious to Defendant.
27
       200. Defendant knowingly and deliberately concealed the breadth of the problem of sexual
28
             misconduct on its campus, maintained multiple, contradictory and confusing policies,
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             and failed to enforce its policies creating an environment in which sexual misconduct
 1

 2           was tacitly approved, and sexual predators could operate with impunity without fear of

 3           consequence. By maintaining multiple and contradictory policies, Defendant violated

 4           34 C.F.R. § 106.9 which requires an educational institution to notify students, and
 5           others, of their rights and protections under Title IX.
 6
       201. Defendant knowingly and deliberately failed to publicly report, as required by law,
 7
             instances of sexual misconduct committed by its students and employees. Such failure
 8
             created a false sense of security for female students on campus, and deprived them of
 9

10           the information necessary to protect themselves from sexual predators on campus.

11     202. Defendant knowingly and deliberately failed to adhere to the guidelines and

12           recommendations promulgated by the DOE in both its 2001 Guidance and DCL.
13
       203. Defendant failed to properly train its employees, including its GSIs, with respect to
14
             detecting, preventing, and responding to sexual misconduct. Defendant also failed to
15
             train its students with respect to identifying sexual misconduct, preventing its
16
             occurrence, and reporting its occurrence.
17

18     204. Defendant’s policy of indifference to sexual misconduct on campus created a

19           heightened risk for sexual misconduct to occur which was a substantial factor in
20           causing the sexual assaults alleged by Plaintiffs herein.
21
       205. It was obvious, or Defendant knew of the serious risk of sexual misconduct on campus.
22
             Defendant knew that hundreds of instances of sexual misconduct occur on campus
23
             every year. Defendant nevertheless deliberately concealed the amount of sexual
24

25           misconduct on campus in violation of federal law, maintained multiple, contradictory

26           policies for addressing sexual misconduct, failed to enforce its policies, failed to train

27           its employees, agents, and students, failed to adhere to federal guidelines, and
28           maintained a general policy of indifference to sexual misconduct on campus. The need

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              for more effective policies, and a more effective response to sexual misconduct was so
 1

 2            obvious, and the aforementioned inadequacies so likely to result in Title IX violations,

 3            that Defendant’s actions and inactions were a substantial factor in causing the sexual

 4            assaults alleged by Plaintiffs herein.
 5     206. In addition to its general policy of indifference to sexual misconduct, Defendant
 6
              exhibited a policy of indifference to sexual misconduct committed by members of the
 7
              Club. Defendant had knowledge of no less than three instances of sexual misconduct
 8
              committed by male Club members against female Club members prior to Karasek’s
 9

10            assault during a Club retreat. Defendant also had knowledge that one of those instances

11            involved TH sexually assaulting a female student during a Club event prior to sexually

12            assaulting Karasek. Nevertheless, Defendant did not take any action to remedy the issue
13
              of sexual misconduct in the Club or prevent future occurrences of sexual misconduct
14
              committed by TH, or other members of the Club prior to Karasek’s assault.
15
       207. Defendant’s failure to train GSIs, including Higgins, in sexual assault detection,
16
              prevention, and response was a substantial factor in causing Butler’s sexual assaults.
17

18            Higgins was aware of Butler’s first incident of sexual assault and aware of who

19            assaulted Butler, yet failed to do anything in response. Had the University trained
20            Higgins with respect to sexual misconduct, Higgins could have prevented Butler’s
21
              additional sexual harassment and sexual assault once she learned of Butler’s first
22
              instance of sexual misconduct.
23
       208.   As a result of the above-described conduct, Plaintiffs have suffered, and continue to
24

25            suffer, great pain of mind and body, physical injury, shock, emotional distress, physical

26            manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

27            humiliation, and loss of enjoyment of life; were prevented and will continue to be
28            prevented from performing their daily activities and obtaining the full enjoyment of

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               life; and/or have incurred and will continue to incur expenses for medical and
 1

 2             psychological treatment, therapy, and counseling.

 3      WHEREFORE, Plaintiffs pray for damages; costs; interest; statutory/civil penalties

 4             according to law; attorneys’ fees and costs of litigation, pursuant to 42 U.S.C. §1988
 5             or other applicable law; and such other relief as the court deems appropriate and just.
 6
                                            JURY DEMAND
 7
            Plaintiffs demand a jury trial on all issues so triable.
 8

 9
     Date: June 5, 2020                             THE ZALKIN LAW FIRM, P.C.
10
                                                         IRWIN M. ZALKIN
11                                                       DEVIN M. STOREY
                                                         ALEXANDER S. ZALKIN
12                                                       RYAN M. COHEN

13
                                                    By:      /s/ Alexander S. Zalkin
14
                                                            Alexander S. Zalkin
15                                                          Attorneys for Plaintiffs

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                                     PROOF OF SERVICE

Sofie Karasek, et al., v The Regents of the University of California, a public entity, et al.,
United States District Court, Northern District of California, San Francisco Division,
Case No: 3:15-cv-03717-WHO

       I, Stephanie M. Paleo, am employed in the city and county of San Diego, State of
California. I am over the age of 18 and not a party to the action; my business address is 10590
W. Ocean Air Drive, Suite 125, San Diego, CA 92130.

       On June 5, 2020, I caused to be served:

FIFTH AMENDED COMPLAINT FOR DAMAGES:

     1. DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF 20 U.S.C.
        §1681 (TITLE IX)

in this action by placing a true and correct copy of said documents(s) in sealed envelopes
addressed as follows:

       SEE ATTACHED SERVICE LIST

       (BY MAIL) I am readily familiar with the firm’s practice of collection and processing
            correspondence for mailing. Under that practice it would be deposited with the
            U.S. Postal Service on that same day with postage thereon fully prepaid at San
            Diego, California, in the ordinary course of business. I am aware that on motion
            of the party served, service is presumed invalid if postal cancellation date or
            postage meter date is more than one day after date of deposit for mailing in
            affidavit.

       (BY PERSONAL SERVICE) By causing to be delivered by hand to the offices of the
             addressee(s) on the date listed above.


       (BY OVERNIGHT DELIVERY – FEDERAL EXPRESS) I enclosed the documents in
            an envelope or package provided by an Federal Express and addressed to the
            persons at the addresses listed below. I placed the envelope or package for
            collection and overnight delivery at an office of a regularly utilized drop box for
            Federal Express.

XX     (BY E-MAIL OR ELECTRONIC TRANSMISSION) Using the CM/ECF system. The
             CM/ECF system will provide service of such filing(s) via Notice of Electronic
             Filing to the persons at the emails listed below. I did not receive, within a
             reasonable time after the transmission, any electronic messages or other
             indication that the transmissions were unsuccessful.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that I am employed in the office of a member of the bar of this
Court at whose direction the service was made.


Executed on: June 5, 2020                                      /s/ Stephanie M. Paleo
                                                               Stephanie M. Paleo
                                                               stephanie@zalkin.com


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                                       SERVICE LIST

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Attorneys for Defendant
The Regents of the University of California




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